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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




SHINGO LAVINE, et al.,

                         Plaintiffs,
                                                        Civil Action No. 21-17099 (ZNQ) (JBD)
                        v.
                                                                       ORDER
AMERICAN ACADEMY OF
PEDIATRICS INC., et al.,

                         Defendants.


QURAISHI, District Judge

       THIS MATTER comes before the Court upon a Motion to Dismiss filed by Defendant

American Academy of Pediatrics Inc. (“Defendant”). (the “Motion,” ECF No. 14.) For the reasons

set forth in the accompanying Opinion,

       IT IS on this 12th day of May 2023,

       ORDERED that Defendant’s Motion (ECF No. 14) is hereby GRANTED and Plaintiffs’

claims are dismissed without prejudice; and it is further

       ORDERED that Plaintiffs are hereby granted leave to file a Second Amended Complaint

within 30 days of the entry of this Order. A failure to cure the defects noted in the accompanying

Opinion may lead to dismissal with prejudice; and it is further

       ORDERED that the Clerk is instructed to mark this matter CLOSED.



                                                    s/ Zahid N. Quraishi
                                                    ZAHID N. QURAISHI
                                                    UNITED STATES DISTRICT JUDGE
